Case: 3:19-mj-00498-MJN Doc #: 6 Filed: 08/09/19 Page: 1 of 8 PAGEID #: 12

UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION AT DAYTON

UNITED STATES OF AMERICA, Case No. 3:19-mj-498

 

 

Plaintiff, : UNITED STATES’ MOTION FOR
: PRETRIAL DETENTION AND
VS. : HEARING THEREON
ETHAN KOLLIE, ' UNDER SEAL
Defendant.
DETENTION
a The United States of America (“United States”) respectfully requests that the

defendant be detained pending trial because no condition or combination of

conditions will reasonably assure both (1) the appearance of the defendant as

required in this action, and (2) the safety of any other person and the

community. (See 18 U.S.C. § 3142(a)(4). (e). (f. (g) and (i).)

A. Rebuttable Presumption Applies: Appearance of the Defendant and Safety
of Community (18 U.S.C. § 3142(e)(3)) (common - check if applicable)

O) A rebuttable presumption that no condition or combination of conditions
will reasonably assure both (a) the appearance of the defendant as
required in this action, and (b) the safety of the community applies
because there is probable cause to believe that the defendant committed

(check at least one and all that apply):
Case: 3:19-mj-00498-MJN Doc #: 6 Filed: 08/09/19 Page: 2 of 8 PAGEID #: 13

QO an offense for which a maximum term of imprisonment of ten
years or more is prescribed in the Controlled Substances Act (21
U.S.C. 801 et seq.), the Controlled Substances Import and Export
Act (21 U.S.C. 951 et seq.), or chapter 705 of Title 46 of the
United States Code;

O an offense under 18 U.S.C. §§ 924(c) (Use and/or Carrying a
Firearm During and in Relation to/Possession in Furtherance of, a
Crime of Violence or Drug Trafficking Crime), 956(a) (Conspiracy
to Kill, Kidnap, Maim, or Injure Persons or Damage Property in a
Foreign Country), or 2332b (Acts of Terrorism Transcending
National Boundaries);

O an offense listed in 18 U.S.C. § 2332b(g)(5)(B) (listing offenses
included in definition of “Federal crime of terrorism,” e.g., 18
USS.C. §§ 1030(a)(1) (relating to protection of computers),
1030(a)(5)(A) (relating to protection of computers and resulting
in damage as defined in 1030(c)(4)(A)G)(II)-(VI)), 1203 (hostage
taking), 1751(a)-(d) (relating to Presidential and Presidential staff
assassination and kidnapping), 2339B (relating to providing
material support to terrorist organizations)) for which a maximum
term of imprisonment of ten (10) years or more is prescribed;

QO an offense under chapter 77 of Title 18 of the United States Code
(Peonage and Slavery) for which a maximum term of

imprisonment of 20 years or more is prescribed;
Case: 3:19-mj-00498-MJN Doc #: 6 Filed: 08/09/19 Page: 3 of 8 PAGEID #: 14

O an offense involving a minor victim under 18 U.S.C. §§ 1201,
1591, 2241, 2242, 2244(a)(1), 2245, 2251, 2251A, 2252(a)(1)-(3),

2252A(a)(1)-(4), 2260, 2421, 2422, 2423, or 2425.

B. Rebuttable Presumption Applies: Safety of Others and Community (18
U.S.C. § 3142(e)(2)) (rare - check if applicable

QO

This is a case described in 18 U.S.C. § 3142(f)(1) (generally, crime of
violence or terrorism offense w/at least 10 yr. stat max; offense w/max
sentence of life or death; drug trafficking offense w/at least 10 yr. stat
max; two or more priors of these types of offenses, federal or state; felony
involving minor victim, failure to register as a sex offender, or possession
or use of a firearm or other dangerous weapon), and a rebuttable
presumption that no condition or combination of conditions will
reasonably assure the safety of any other person and the community
applies because: (a) the defendant has been convicted of a Federal offense
that is described in 18 U.S.C. § 3142(f)(1), or of a State or local offense
that would have been an offense described in 18 U.S.C. § 3142((1) ifa
circumstance giving rise to Federal jurisdiction had existed (hereafter,
“the Offense”); (b) the Offense was committed while the defendant was
on release pending trial for a Federal, State, or local offense; and (c) a
period of not more than five (5) years has elapsed since the date of
conviction, or the release of the person from imprisonment, for the

Offense, whichever is later.
Case: 3:19-mj-00498-MJN Doc #: 6 Filed: 08/09/19 Page: 4 of 8 PAGEID #: 15

2. TEMPORARY DETENTION (RARE - CHECK IF APPLICABLE)

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The United States seeks temporary detention for ten (10) days, excluding

Saturdays, Sundays, and holidays, to permit revocation of conditional release,

deportation, or exclusion, because (1) the defendant may flee or pose a danger

to any other person or the community (see 18 U.S.C. § 3142(d)(2)), and (2) the

defendant (check at least one and all that apply):

QO

is, and was at the time the offense was committed, on release
pending trial for a felony under Federal, State, or local law. See 18
USS.C. § 3142(d)(1 (A);

is, and was at the time the offense was committed, on release
pending imposition of execution of sentence, appeal of sentence
or conviction, or completion of sentence, for any offense under
Federal, State, or local law. See 18 U.S.C. § 3142(d)(1 )(A)(ii);
is, and was at the time the offense was committed, on probation
or parole for any offense under Federal, State or local law. See
18 U.S.C. § 3142(d)(1)(A) iii);

is not a citizen of the United States or lawfully admitted for
permanent residence, as defined in 8 U.S.C. § 1101(a)(20). See

18 U.S.C. § 3142(d)(1)(B).
Case: 3:19-mj-00498-MJN Doc #: 6 Filed: 08/09/19 Page: 5 of 8 PAGEID #: 16

3. DETENTION HEARING

 

A hearing pursuant to the provisions of 18 U.S.C. § 3142(f) must be held before

detaining a defendant pending trial (18 U.S.C. § 3142(e)), unless waived by that

defendant. The United States accordingly respectfully requests that this Court

hold such a hearing, unless waived by the defendant.

Hearing Must be Granted (most cases - check if applicable)

a Such a hearing must be granted because this case involves (check at least

one and all that apply):

O

a crime of violence as defined in 18 U.S.C. § 3156(a)(4), namely,
(i) an offense that has an element of the offense the use, attempted
use, or threatened use of physical force against the person or
property of another, (ii) a felony that, by its nature, involves a
substantial risk that physical force against the person or property of
another may be used in the course of committing the offense, or
(iii) a felony under chapter 77 (Peonage and Slavery), 109A
(Sexual Abuse), 110 (Sexual Exploitation and Other Abuse of
Children [includes child pornography offenses]), or 117
(Transportation for Illegal Sexual Activity and Related Crimes) of
Title 18 of the United States Code. See 18 U.S.C. § 3142(f)(1)(A);
a violation of 18 U.S.C. § 1591. See 18 U.S.C. § 3142(fA)(1)(A);
an offense listed in 18 U.S.C. § 2332b(g)(5)(B) (listing offenses
included in definition of “Federal crime of terrorism”, e.g., 18
U.S.C. §§ 1030(a)(1) (relating to protection of computers),
1030(a)(5)(A) (relating to protection of computers and resulting in

5

 
Case: 3:19-mj-00498-MJN Doc #: 6 Filed: 08/09/19 Page: 6 of 8 PAGEID #: 17

damage as defined in 1030(c)(4)(A)(i)(ID-(VD), 1203 (hostage
taking), 1751(a)-(d) (relating to Presidential and Presidential staff
assassination and kidnapping), 2339B (relating to providing
material support to terrorist organizations)) for which a maximum
term of imprisonment of ten (10) years or more is prescribed. See
18 U.S.C. § 3142(f(1)(A);

QO an offense for which the maximum sentence is life imprisonment
or death. See 18 U.S.C. § 3142(f)(1)(B);

Q) an offense for which a maximum term of imprisonment of 10
years or more is prescribed in (i) the Controlled Substance Act (21
U.S.C. §§ 801 et seq.), (ii) the Controlled Substances Import and
Export Act (21 U.S.C. §§ 951 et seq.), or (iii) chapter 705 of Title
46 of the United States Code. See 18 U.S.C. § 3142(f)(1)(C);

QO a felony where the defendant has been convicted of (i) two or more
offenses described in 18 U.S.C. §§ 3142(f)(1)(A)-(C) (see above),
(1) two or more State or local offenses that would have been
offenses described in 18 U.S.C. §§ 3142(f)(1)(A)-(C) ifa
circumstance giving rise to Federal jurisdiction had existed, or (iii)

a combination of such offenses. See 18 U.S.C. § 3142(f)(1)(D);

Q a felony that involves a minor victim. See 18 U.S.C. §
3142(f)(1)(E);
a a felony that involves the possession or use of a firearm or

destructive device (as those terms are defined in 18 U.S.C. § 921)
or any other dangerous weapon. See 18 U.S.C. § 3142(N(1)(E);

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Case: 3:19-mj-00498-MJN Doc #: 6 Filed: 08/09/19 Page: 7 of 8 PAGEID #: 18

QO a felony that involves a failure to register under 18 U.S.C. § 2250.
See 18 U.S.C. § 3142(H(1)(E);
a a serious risk that the defendant will flee. See 18 U.S.C. §
3142(f)(2)(A);
QO a serious risk that the defendant will obstruct or attempt to obstruct
justice, or threaten, injure, or intimidate, or attempt to threaten,
injure, or intimidate, a prospective witness or juror. See 18 U.S.C.
§ 3142(f)(2)(B).
B. Hearing Not Required to be Granted but May be Granted at the Court’s
Discretion (rare - check if applicable - must be checked if 3(A) not checked -
memorandum required)

QO The Court is not required to grant a hearing, but such a hearing is

requested nonetheless as explained in the attached Memorandum.

Cc. Continuance of Hearing Requested (18 U.S.C. § 3142(f)) (check one if
requesting a continuance)

a The United States respectfully requests a continuance of three (3) days
(not including any intermediate Saturday, Sunday, or legal holiday) in
which to hold the detention hearing, during which time the defendant shall
be detained.

QO The United States respectfully requests a continuance of greater than three
(3) days (not including any intermediate Saturday, Sunday, or legal
holiday), namely, until , in which to hold the detention

hearing, for good cause, as explained in the attached Memorandum, during

which time the defendant shall be detained.

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Case: 3:19-mj-00498-MJN Doc #: 6 Filed: 08/09/19 Page: 8 of 8 PAGEID #: 19

D. Medical Examination Requested During Continuance (18 U.S.C. § 3142(f)
(rare - check if applicable and only if continuance is requested)

a During the requested continuance, the United States respectfully requests
that the defendant, who appears to be a narcotics addict, receive a
medical examination to determine whether the defendant is an addict.

Respectfully submitted,

BENJAMIN C. GLASSMAN
United States Attorney

s/Vipal J. Patel

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CERTIFICATE OF SERVICE

I hereby certify that this pleading was filed with this Court on this 9" day of August 2019,
via its electronic filing system, a process which automatically provides an electronic copy to all
counsel of record, and that a copy of this pleading will be provided to defense counsel at the
initial appearance in this matter.

s/Vipal J. Patel
VIPAL J. PATEL (156212 CA)

First Assistant United States Attorney

 
